In Banc.
This matter comes on to be heard on a motion of the above-named respondents to have the mandate recalled for the purpose of retaxing the costs.
The mandate directs costs taxed in favor of L.R. Duncan who is one of the appellants. There were three contests involved in this appeal, designated Nos. 1, 2 and 5, respectively. L.R. Duncan, as one of the appellants, prevailed and is entitled to recover his disbursements from the respondent as to him, to wit: Juan Yturriondabetia. Respondents above named prevailed as to appellants in contest No. 1, to wit: William F. Stine, William Weidermann and Carlton Fretwell. The mandate is correct in so far as it allows costs to appellant L.R. Duncan, but should have confined his judgment for costs against the said Juan Yturriondabetia. The above-named respondents McCain et al. are entitled to have their proper costs and disbursements taxed against the appellants William *Page 300 
F. Stine, William Weidermann and Carlton Fretwell.
The defect in the mandate is the result of improper attention on the part of the attorneys. In complicated litigation such as adjudication of water rights, where a number of independent contests are waged under the same general title and at the same time, attorneys should carefully mention the names of the parties who are entitled to costs and the names of the parties against whom said costs should be taxed. It is expecting too much of the clerk of this court to have him examine such complicated and voluminous records to determine such matters.
The mandate will be recalled and corrected accordingly.
MANDATE RECALLED AND CORRECTED. MOTION TO RETAX COSTS DENIED.